                                                                                                                          mwe.com

                                                                                                                       Lisa A. Linsky
                                                                                                                      Attorney at Law
                                                                                                                  llinsky@mwe.com
                                                                                                                    +1 212 547 5587




May 27, 2025

VIA ECF

The Honorable Dennis Montali
United States Bankruptcy Court
Northern District of California
450 Golden Gate Ave., 16th Floor
San Francisco, CA 94102

Re:    In re The Roman Catholic Archbishop of San Francisco, Case No. 23-30564
       Response of Sacred Heart Cathedral Preparatory to the Committee’s Letter Containing the
       Committee’s Motion to Compel

Dear Judge Montali:

McDermott Will & Emery LLP is counsel to Sacred Heart Cathedral Preparatory (“Sacred Heart
Cathedral”), which is a non-debtor interested party in the above-captioned chapter 11 proceedings and a
defendant in The Official Committee of Unsecured Creditors v. The Roman Catholic Archbishop of San
Francisco, et al., Adv. Pro. No. 25-03021. Sacred Heart Cathedral has received the Official Committee
of Unsecured Creditors’ (the “Committee”) Letter to the Hon. Judge Dennis Montali re Discovery Dispute
[Docket No. 1201] (the “Letter Containing the Committee’s Motion to Compel”), and the Roman Catholic
Archbishop of San Francisco’s (the “Debtor”) Response to Committee’s Letter re Discovery Dispute
[Docket No. 1203] (the “Debtor’s Response”).

Sacred Heart Cathedral opposes the Letter Containing the Committee’s Motion to Compel and joins in all
arguments made in the Debtor’s Response to the extent that any discovery the Committee seeks by the
Letter Containing the Committee’s Motion to Compel contains any information, documents, or
communications concerning or belonging to Sacred Heart Cathedral. Sacred Heart Cathedral respectfully
submits this letter out of an abundance of caution to protect its rights regarding the production of any of
Sacred Heart Cathedral’s information, documents, and communications.

Counsel to Sacred Heart Cathedral is available to discuss this matter further at the Court’s convenience.

Respectfully submitted,

/s/ Lisa A. Linsky
Lisa A. Linsky

CC: All Counsel of Record (via ECF)


                                 One Vanderbilt Avenue New York NY 10017-3852 Tel +1 212 547 5400 Fax +1 212 547 5444

   Case: 23-30564         Doc# US
                               1207          Filed:through
                                  practice conducted  05/27/25
                                                           McDermott WillEntered:
                                                                         & Emery LLP. 05/27/25 16:42:00                 Page 1 of
                                                              1
